            Case 4:11-cv-00021-FRZ Document 86 Filed 11/02/12 Page 1 of 6




 1   MESCH, CLARK & ROTHSCHILD, P.C.
     259 North Meyer Avenue
 2   Tucson, Arizona 85701
     Phone: (520)624-8886
 3   Fax: (520)798-1037
     Email: sgan@mcrazlaw.com
 4

 5   By:    Scott H. Gan, #6568
            83136-5/meb
 6
     Attorneys for Randall P. Sanders, Receiver
 7
                                UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF ARIZONA
 9
      U.S. COMMODITY FUTURES
10
      TRADING COMMISSION,
11                                                  No.4:ll-CV-00021-FRZ
                                  Plaintiff,
12
                    -vs-
13                                                  R E C E I V E R ' S FINAL R E P O R T AND
      ANTHONY EUGENE LINTON dba THE                 MOTION F O R R E L E A S E O F
14
      PRIVATE TRADING POOL,                         RECEIVER
15                                Defendant.
16

17          Randall P. Sanders, duly appointed Receiver, through counsel undersigned, files this
18   Final Report by providing a summary of actions taken since his appointment by this Court
19   on April 27, 2011, as follows:
20          1.     I took control, custody and possession of all funds, premises, property, and
21   other assets in possession of, or under the control of, Defendant, wherever situated, that I
22   believed to be related to this action, and are consistent with the Order for Preliminary
23   Injunction and other ancillary relief against Defendant Anthony Eugene Linton dba The
24   Private Trading Pool. I took control of all tangible property of Defendant located at the
25   Sierra Auctions storage facility in Tucson, AZ and in the possession or control of Mark A.
26
            Case 4:11-cv-00021-FRZ Document 86 Filed 11/02/12 Page 2 of 6




 1   Klase, Amy L. Klase, and any attorney or other person or entity acting on behalf of Mark A.

 2   Klase, Amy L. Klase.

 3          2.     I inspected the former residence of the Defendant and took control of all

 4   personal property located there. With the assistance of North American Van Lines I

 5   removed and stored all items of personal property of consequential value for auction.

 6          3.     I held, preserved and managed all receivership assets and I performed all acts
 7   necessary to preserve the value of those assets, in order to prevent any loss or damage.
 8          4.     I was advised by the Commodity Futures Trading Commission ("CFTC") that
 9   no actions needed to be initiated, defended, compromised, adjusted, intervened in, nor did I
10   become a party to the any actions or proceedings in state, federal or foreign jurisdictions
11   necessary to preserve or increase the assets of Defendant or to carry out my duties pursuant
12   to this Court's Order.
13          5.     I employed, with this Court's approval, the following professionals,
14   independent contractors and technical specialists to assist me: (1) Mesch, Clark &
15   Rothschild, P.C. to represent me in all legal matters that the I deemed necessary and
16   appropriate; (2) Bob Gauna, a former FBI agent, to provide investigation, surveillance and
17   security of personal property under my control; and (3) Tim Veninga, a licensed gun broker,
18   to provide research regarding the fair market value of rare and collectible firearms in my
19   possession and to assist me in locating prospective purchasers for firearms and in
20   transferring ownership ofthe firearms to prospective purchasers; (4) Gunbroker.com, a
21   commercial website that lists firearms for sale both nationally and internationally; (5) North
22   American Van Lines for storing and removing personal property from the Lintons' former
23   residence; (6) T &T Auctions for advertising, cataloging and selling various items of
24   Lintons' personal property located a their former residence; and (7) Sierra Auctions for
25   storing and sale of three motor vehicles (one DeLorean and two Lotuses) and two
26   motorcycles (Motoguzzis) and other items of personal property of Defendant. On July 14,


                                                   2
              Case 4:11-cv-00021-FRZ Document 86 Filed 11/02/12 Page 3 of 6




 1   2011, this Court entered an Order approving my employment of all of these professional,

 2   independent contractors and technical specialists.

 3            6.    I attached to my last Status Report a schedule of the firearms I controlled and
 4   sold with the assistance of Mr. Veninga, the licensed firearms dealer and through
 5   Gunbroker.com. (See Exhibit A, attached thereto).
 6            7.    I was advised by CFTC that no subpoenas needed to be issued in order to
 7   obtain discovery and records pertaining to this receivership.
 8            8.    I opened a bank account at Wells Fargo Bank for funds of the Defendant and
 9   made deposits of the Defendant into this account, as well as, made payments and
10   disbursements from the receivership estates from this account pursuant to Orders of this
11   Court.
12            9.    I attached to my last Status Report a list of payments and disbursements from
13   the receivership estate. (See Exhibit B, attached thereto). All payments and distributions
14   were made pursuant to orders of this Court.
15            10.   There were no commodity futures positions or other outstanding positions
16   owned by the Defendant that needed to be closed out.
17            11.   I currently control a Receivership Account at Wells Fargo Bank, N.A. in
18   Tucson, Arizona containing a total of $148,588.26, representing the balance of funds
19   resulting from the liquidation of all of Defendant's personal property I possessed or
20   controlled during my Receivership in this matter (the "Receivership Proceeds") (See Exhibit
21   C, attached to my last Status Report).
22            12.   There are no further duties or responsibilities to be completed by me pursuant
23   to this Court's Order appointing me the receiver in this matter, with the exception of the
24   distribution of the Receivership proceeds to CFTC and/or NFA, the Court appointed
25   monitor.
26


                                                    3
          Case 4:11-cv-00021-FRZ Document 86 Filed 11/02/12 Page 4 of 6




 1            13.   Upon the entry o f t h i s Court's order authorizing my disbursement o f t h e

 2   Receivership Proceeds to CFTC and/or NFA, I will immediately disburse all funds to them,

 3   minus the amount o f my remaining compensation, approximately $1,300.00, for pro rata

 4   distribution to investors. After disbursement o f t h e Receivership Proceeds to CFTC and/or

 5   NFA, I do not have any remaining duties or responsibilities to be performed pursuant to the

 6   Order appointing me Receiver.

 7            14.   I respectfully request this Court enter an order: (1) approving this Final

 8   Report; (2) authorizing me to disburse the Receivership Proceeds, minus the remaining

 9   amount of my compensation $1,300 to CFTC and/or NFA; (3) releasing me, my counsel and

10   all others 1 employed from any further responsibilities and duties under the terms of my

11   appointment as Receiver; and (3) finding that all fees and disbursements made by me as

12   Receiver, and previously approved by this Court, including my final fee application, as

13   appropriately paid by me as the Receiver and are not subject to further review.

14            15.   For such other and further relief and the Court deems appropriate.

15            D A T E D : November 1, 2012.                                   ^   »
16
                                                          Randall P. Sanders, Receiver
17

18   MESCH, C L A R K & ROTHSCHILD, P.C.

19
     By         s / S c o t t H . Gan             .
20            Scott H . Gan
              Attorneys for Receiver
21   352559


22

23

24

25

26


                                                      4
            Case 4:11-cv-00021-FRZ Document 86 Filed 11/02/12 Page 5 of 6




 1   MESCH, CLARK & ROTHSCHILD, P.C.
     259 North Meyer Avenue
 2   Tucson, Arizona 85701
     Phone: (520)624-8886
 3   Fax: (520)798-1037
     Email: sgan@mcrazlaw.com
 4

 5   By:    Scott H. Gan, #6568
            83136-5/meb
 6
     Attorneys for Randall P. Sanders, Receiver
 7
                               UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF ARIZONA
 9
      U.S. COMMODITY FUTURES
10
      TRADING COMMISSION,
11                                                 No.4:ll-CV-00021-FRZ
                                    Plaintiff,
12
                    -vs-
13                                                 ORDER APPROVING R E C E I V E R ' S
      ANTHONY EUGENE LINTON dba THE                FINAL R E P O R T AND DISCHARGE
14    PRIVATE TRADING POOL,                        OF R E C E I V E R
15                                  Defendant.
16

17          The Court appointed Receiver, Randall P. Sanders, having filed his Final Report and
18   Motion for Release of Receiver; the Receiver having completed all applicable tasks pursuant
19   to this Court's Order appointing him as set forth in his Final Report; the U.S. Commodities
20   Trading Futures Commission ("CFTC") having filed a Motion to Approve Distribution of
21   Receivership Funds, the Court being advised in the premises and good cause appearing:
22          IT IS O R D E R E D approving the Receiver's Final Report and granting the Motion
23   for Release of the Receiver;
24          IT IS F U R T H E R O R D E R E D authorizing the Receiver to disburse the Receivership
25   Proceeds, minus the remaining amount of his compensation, $1,300, to CFTC and/or
26   National Futures Association ("NFA");
              Case 4:11-cv-00021-FRZ Document 86 Filed 11/02/12 Page 6 of 6




 1            IT IS F U R T H E R O R D E R E D discharging and terminating the Receiver, his

 2   counsel and all others he employed from any further responsibilities and duties under the

 3   terms of the Order appointing the Receiver; and

 4            I T IS F U R T H E R O R D E R E D that all fees and disbursements made by the

 5   Receiver, and previously approved by this Court, including the Receiver's final fee request

 6   for payment of $1300 were appropriately paid by him and are not subject to further review.

 7            DATED: November _ , 2012.

 8

 9

10

11

12

13

14

15

16
17

18

19

20

21

22
     358424
23

24

25

26


                                                     2
